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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    86 Chambers Street, 3rd floor
                                                    New York, NY 10007


                                                    October 19, 2020

                                           The application is GRANTED. Defendant's deadline to file the
BY ECF                                     certified transcript of administrative proceedings is extended
                                           to December 21, 2020.
Honorable Lorna G. Schofield
United States District Judge
                                           Dated: October 20, 2020
United States District Court
40 Foley Square                                   New York, New York
New York, New York 10007

                              Re: Ryan D. Gibbs v. Comm’r Soc. Sec.
                                  20 Civ. 5595 (LGS)

Dear Judge Schofield:

        Pursuant to the schedule in the above-referenced Social Security case, the administrative
record is due on October 21, 2020. We write respectfully to request that the time to file the
record be extended for 60 days, until December 21, 2020. The reason for this request is the
Social Security Administration needs more time to prepare the record due to telecommuting and
other workplace changes in response to the pandemic.

        We attempted to obtain the consent of plaintiff, who is proceeding pro se, to this
proposed adjournment. We did not receive a response to our inquiry directly from plaintiff, but
received an email from Shazardi Gaddy, a case manager for plaintiff at HelpUSA, who stated
that plaintiff agreed to the proposed adjournment. Ms. Gaddy also stated that she could relay
messages to plaintiff.
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       No prior adjournment has been requested in this case. We appreciate the Court’s
consideration of this request.

                                           Respectfully,

                                           AUDREY STRAUSS
                                           Acting United States Attorney


                                    By:            s/ Susan D. Baird
                                           SUSAN D. BAIRD
                                           Assistant United States Attorney
                                           tel. (212) 637-2713
                                           Susan.Baird@usdoj.gov

cc: BY MAIL (no email or fax available)
    Ryan D. Gibbs
    984 Woodycrest Avenue, Apt. 208
    Bronx, NY 10452

    BY EMAIL
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